Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 1 of 64 PageID #: 47

                                                                pI
               IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF TEXAS OCT 12 2023
                        BEAUMONT DIVISION
                                                       BY
                                                       deputy
 MARINA NAOMI HERNANDEZ § ~~~
 QUIROZ, individually and as attorney §
 in fact for MADELYN MARINA § • i 7
 QUIROZ, § CAUSE NO.: / Ad                                            / J
                § JURY DEMANDED
                                          §
 PLAINTIFF(s) §
                                          §
    VS.                           §
                                          §
 CITY OF DAYTON, TEXAS, §
 CAROLINE WADZECK, THEO §
 MELANCON, ROBERT VINE, JOHN §
 D. COLEMAN, TERRI HUGHES, §
 KRISTEN SEIBERT, CITY OF §
 DAYTON FIRE DEPARTMENT, §
 MURPHY GREEN, LIBERTY §
 COUNTY DISTRICT ATTORNEY §
 JENNIFER BERGMAN HARKNESS, §
 LIBERTY COUNTY ATTORNEY §
 MATTHEW POSTON, MATTHEW §
 SALDANA, CITY OF LIBERTY, §
 TEXAS, KATELYN GRIMES, §
 ALLEGIANCE MOBILE HEALTH §
 MEDICAL SERVICE, STEVE SMITH, §
 RAMJI LAW GROUP, ADAM RAMJI, §
 JAMEY WAYNE BICE a.k.a. §
 JAIME/JAMES & JAMEY BICE, §
 STEPHANIE LEE BLUM BICE, §
 MORGAN SKYE WHITE, EDUARDO §
 HERNANDEZ, NISSAN NORTH §
 AMERICA a.k.a. NISSAN MOTOR §
 CORPORATION, UNION PACIFIC §
 RAILROAD COMPANY. §
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 2 of 64 PageID #: 48




               PLAINTIFF S FIRST AMENDED COMPLAINT



 TO THE HONORABLE JUDGE OF SAID COURT:


       Madelyn Marina Quiroz, and Marina Naomi Hernandez Quiroz,

 individually, and as Attorney in Fact (Madelyn s mother) ( Plaintiffs ) and files

 this Plaintiff’s First Amended Complaint against the above-entitled and following

 Defendants ( Defendants ) City of Dayton, Texas, City of Dayton Former Mayor

 Caroline Wadzeck, City of Dayton Former City Manager Theo Melancon, City of

Dayton Deputy Former City Manager/Former Dayton Police Chief Robert Vine,

 City of Dayton Former Police Captain John D. Coleman, City of Dayton Former

Police Criminal Investigation Division Lieutenant Terri Hughes, City of Dayton

Police Sergeant Kristen Seibert, City of Dayton Volunteer Fire Department, City of

Dayton Volunteer Fire Department Former Chief Murphy Green, Liberty County

District Attorney Jennifer Bergman Harkness, Liberty County Attorney Matthew

Poston, Liberty County Assistant Attorney/Prosecutor Matthew Saldana and the

City of Liberty Fire Department Emergency Medical Service, the City of Liberty

Fire Department Emergency Medical Service Paramedic Katelyn Grimes,

Allegiance Mobile Health Emergency Medical Service, and Allegiance Mobile

Health Medical Service Paramedic Steve Smith, and Ramji Law Group a.k.a.

Adam Ramji acting under color of law, Jamey Wayne Bice a.k.a. Jamie/James &
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 3 of 64 PageID #: 49




 Jamey Bice, Stephanie Lee Blum Bice, Morgan Skye White, Eduardo Hernandez,

Nissan North America a.k.a. Nissan Motor Corporation and Union Pacific Railroad

 Company in support thereof show as follows:

                                   I. PARTIES

1 • Plaintiff, Madelyn Marina Quiroz, Hispanic female is an individual resident

   of Liberty County, Texas who was sixteen (16) years old on the date of the motor

   vehicle collision incident in question on January 23, 2020. Madelyn became 18

   years of age on July 18, 2021. The statute of limitation began to run on July 18,

   2021. This suit is timely filed within two years of Madelyn reaching the age of

   majority.

2. Plaintiff, Marina Naomi Hernandez Quiroz Hispanic female, is an individual

   resident of Liberty County, Texas.

3. Defendant, City of Dayton is a municipality located in Texas. Through its

   City Secretary, may be served with summons at City Hall, 117 Cook Street,

   Dayton Texas 77535 or wherever she may be found and she was acting under

   color of law

4. The City of Dayton was untruthful to the Attorney General, Ken Paxton s office

   and to Mrs. Quiroz. The City of Dayton was in possession of the body camera

   footage when requesting the Attorney General’s opinion. They Failed the public

   and victim, Madelyn Quiroz, a minor.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 4 of 64 PageID #: 50




5. The City of Dayton denied the proper hold of the wrecked 2014 Nissan Maxima

   for Investigational purposes and for defective product liability.

6. The City of Dayton Police Department failed to conduct a complete preliminary

   scene investigation.

          a. They failed to assign subject matter experts to the preliminary

             investigation.

          b. They failed to interview all witnesses.

          c. They failed to collect written/recorded witness statements.

          d. They failed to collect relevant physical evidence.

          e. They failed to treat the crash scene as a possible crime scene.

          f. They failed to secure the scene of the crash.

          g. They allowed non-first-responders to enter the scene and remove

             evidence.


          h. Dayton Police Department failed to conduct a complete follow-up

             investigation.

          i. They failed to assign available subject matter expert staff to conduct

             the investigation or to mentor the inexperienced assigned officer and

             Sergeant K. Seibert.

          j. They failed to determine if the crash met the elements needed for a

             criminal charge.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 5 of 64 PageID #: 51




7. They failed to procure medical records showing the presence or absence of

   Morgan White s intoxication.

8. They failed to collect written/recorded statements from witnesses post-incident.

9. They failed to recognize the seriousness of the injuries resulting from the crash.

10. Dayton Police Department knowingly and intentionally suppressed the

   completion of a criminal investigation into the driving facts and condition of

   Morgan White.

11. Members of the Dayton Police Department command staff actively deceived

   Mrs. Quiroz about the investigation, Madelyn Quiroz s parent, Marina Quiroz,

   regarding the progress of the investigation and the personnel that were assigned

   to the incident, specifically;

12. They failed to disclose which officer was assigned to investigate the incident.

13. Defendant, City of Dayton Former Mayor Caroline Wadzeck. White female,

   located in Texas. Through its City Secretary, may be served with summons at

   City Hall, 117 Cook Street, Dayton Texas 77535 or wherever she may be found

   and she was acting under color of law.

14. City of Dayton Former Mayor Caroline Wadzeck while acting under the color

   of law discriminated against Madelyn Quiroz and she also denied Madelyn

   Quiroz life, liberty and property in the pursuit of happiness and she also denied

   Madelyn Quiroz equal protection of the law. Former Mayor C. Wadzeck
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 6 of 64 PageID #: 52




   allowed her staff members, Former City Manager/Theo Melancon, Former

   Deputy City Manager/Former Dayton Chief of Police Robert Vine and Former

   Captain John D. Coleman to fail the public by disregarding the S.H.I.N.E.

   principles (Service, Humility, Integrity, Nobility and Excellence) and to violate

   their own policy and procedures. She also publicly announced her gratitude

   towards Former City Manager Theo Melancon, Former Chief of Police Robert

   Vine and Former Captain John D. Coleman by providing all A job well done

   knowing their misconduct and allowing a faulty investigation to continue,

   depriving Madelyn Quiroz Crime Victim Compensation benefits for over two

   and a half (21/2) years. Leaving Madelyn Quiroz with limited support and

   medical care. Note: The first twelve (12) months are the most critical time to

   receive proper and adequate medical treatment for spinal cord injury for healing

   and progression.

15. nor shall any State deprive any person of life, liberty, or property, without due

   process of law; nor deny to any person within its jurisdiction the equal protection

   of the laws.

16. Defendant, City of Dayton, Former City Manager/Theo Melancon White

   male, City of Dayton, Former City Manager Theo Melancon, may be served

   with summons at Dickinson City Manager Theo Melancon, City Hall @ Farm to
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 7 of 64 PageID #: 53




   Market Road 517, Dickinson, TX 77539 or wherever he may be found and he

   was acting under the color of law.

17. City of Dayton, Former City Manager Theo Melancon while acting under color

   of law discriminated against Madelyn Quiroz and he also denied Madelyn

   Quiroz life, liberty and property in the pursuit of happiness. He denied Madelyn

   Quiroz equal protection of the law. He failed to supervise by allowing his staff

   members, Former Deputy City Manager/Former Dayton Chief of Police Robert

   Vine and Former Captain John D. Coleman failed the public by disregarding the

   S.H.I.N.E. principles (Service, Humility, Integrity, Nobility and Excellence) and

   to violate their own policy and procedures, and by allowing a faulty

   investigation to continue, depriving Madelyn Quiroz Crime Victim

   Compensation benefits for over two and a half (2 /2) years. Leaving Madelyn

   Quiroz with limited support and medical care. Note: The first twelve (12)

   months are the most critical time to receive proper and adequate medical

   treatment for spinal cord injury for healing and progression.

18. Mr. Melancon also created a culture of racism by requiring department heads
   and directors to read a book titled The Lessons of History by Will and Ariel
   Durant. Excerpts:
                     The Lessons of History by Will & Ariel Durant The book says
             the following things: the species man is composed of distinct races
             inherently different (like individuals) in physical structure, mental
             capacity, and qualities of character; and that one race the “Aryan,
             was by ature superior to all the rest. And History sho s that all
             civilization derives from the white race, that none can exist ithout its
             help, and that society is great and brilliant only so f r as it prese es
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 8 of 64 PageID #: 54




             the blood of the noble group that created it. And Environmental
              advantages (argued Gobineau) cannot explain the rise of civilization,
             for the same kind of environment (e.g. soil-fertilizing rivers) that
             watered the civilizations of Egypt and the Near East produced no
             civilization among the Indians or North America And The rise,
             success, decline, and fall of a civilization depend upon the inherent
             quality of the race. The degeneration of a civilization is what the word
             itself indicates - a falling away from the genus, stock, or race.
              “Peoples degenerate only in consequence of the various mixtures of
             blood which they undergo. Usually this comes through intermarriage
             of the vigorous races with those whom it has conquered. Hence the
             superiority of the whites in the United States and Canada (who did not
             intermarry with the Indians) to the whites in Latin America (who
             did).

19. Defendant, City of Dayton Former Deputy City Manager/Chief of Police

   Robert Vine- White male, may be served with summons at City of Paris, Texas.

   Assistant City Manager, Robert Vine 150 1st St SE, Paris, TX 75460 or

   wherever he may be found and he was acting under the color of law

20. Former Dayton Deputy City Manager/Dayton Chief of Police Robert Vine while

   acting under color of law discriminated against Madelyn Quiroz and he also

   denied Madelyn Quiroz life, liberty and property in the pursuit of happiness. He

   denied Madelyn Quiroz equal protection of the law.

21. Former Chief Robert Vine failed to supervise his staff. He and his staff failed

   the public by disregarding the S.H.I.N.E. principles (Service, Humility, Integrity,

   Nobility and Excellence) and to violate their own policy, procedures and best

   practices, and allowing a faulty investigation to continue, depriving Madelyn

   Quiroz Crime Victim Compensation benefits for over two and a half (21/2) years.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 9 of 64 PageID #: 55




   Leaving Madelyn Quiroz with limited support and medical care. Note: The first

   twelve (12) months are the most critical time to receive proper and adequate

   medical treatment for spinal cord injury for healing and progression.

22. Private Investigator Prado, who was hired by the city of Dayton found Former

   Chief Robert Vine in violation of Failure to Supervise and he was untruthful.

23. The report states that Chief Vine believes that with the information about the

   Herrera message to Quiroz (sent via facebook messenger) That lead should have

   been followed up at the school.

24. { Good evening Mrs. Quiroz were you aware that the young lady was driving

   high. I was told by my son that Morgan was High and being careless. Didn t

   know if you knew. }

25. However; Private Investigator Prado located an email from Mayor Caroline

   Wadzeck to Chief Vine, dated October 26th, 2020, with the third-party

   information and a copy of the Facebook message to Ms. Quiroz from Nathan

   Herrera sent via facebook messenger, {“Good evening Mrs. Quiroz were you

   aware that the young lady was driving high. I was told by my son that Morgan

   was High and being careless. Didn’t know if you knew. }

26. Private Investigator Prado states in his report that he believes that a complete

   review of all the facts and circumstances of this case along with the complaint

   from Ms. Quiroz, Chief Vine would have recognized the deficiencies mainly that
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 10 of 64 PageID #: 56




   the occupants in the car were never interviewed. This is a violation of General

   Order 7.31 III 1 (a).

27. Former Chief Robert Vine allowed Dayton Police Department Law

   Enforcement personnel to utilize marked police patrol units to harass and

   intimate the Quiroz family by passing by their residence which sits on a dead

   end street and to also by sitting stationary on Farm to Market Road 1008, near

   the entrance of their street. This was never a known site for traffic enforcement

   prior to the complaint from Mrs. Quiroz to Dayton City Manager, Chief of

   Police Robert Vine, Captain John D. Coleman and City Council.

28. Deputy City Manager/Chief Robert Vine took the case into his own possession,

   stopping the clock jeopardizing the statutes of limitations, another stalled tactic.

   He allowed all four (4) body camera footage to be deleted. He denied Mrs.

   Quiroz an accident reconstruction investigation.

29. Defendant, City of Dayton Former Police Captain John D. Coleman. White

   male, may be served summons Bailiff John D. Coleman % Judge Wesley Hinch,

   County Court #2, 1923 Sam Houston Street, Liberty, TX 77575 or wherever he

   may be found and he was acting under color of law.

30. City of Dayton Former Police Captain John D. Coleman, while acting under the

   color of law, discriminated against Madelyn Quiroz and he denied Madelyn

   Quiroz life, liberty and property in the pursuit of happiness. He denied Madelyn
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 11 of 64 PageID #: 57




   Quiroz equal protection of the law. Former Captain John D. Coleman arrived at

   the scene immediately when the dispatcher announced that Morgan White was

   involved in the collision. He was the senior officer on the scene. Lieutenant

   Burleigh was on scene as well and Lieutenant Burleigh advised dispatch to

   notify Expert Accident Reconstructionist Officer David Meyers to the scene.

 31. Officer David Meyers was never contacted nor was he ever assigned to the

   case. Former Captain Coleman also denied Mrs. Quiroz s request for an

   accident reconstruction investigation. He stated they did not have the resources.

   However, he was untruthful. The police department had two on their payroll.

   Mrs. Quiroz requested he contact the Department of Public Safety Troopers and

   he stated he would not bother them with this. Former Captain Coleman allowed

   an non-first-responder (unidentified as of today) white male to enter the active

   crime scene, enter the vehicle and remove property and evidence from the driver

   side floorboard.

32. A female employee of Henscey Electric & Air Conditioning located at 708

   Waco Street, Dayton, TX 77535 which is where the racing occurred told Mrs.

   Marina Quiroz their business cameras were working and would have recorded

   the activity of their parking lot and the roadway. She was very pleasant and

   requested Mrs. Quiroz to come the following day so that she could obtain the

   video pass code. Mi's. Quiroz returned the following day and a male employee
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 12 of 64 PageID #: 58




   who was unpleasant and cold who stated that there was no video. A Witness

   stated Former Captain Coleman told the business owner of Henscey Electric &

   Air Conditioning and members of the community that Morgan White was

   traveling at 40 miles per hour. On the scene, Former Captain John Coleman

   spoke with the The Liberty County Fire Department Emergency Medical Service

   who submitted in their report that the driver (Morgan White) was traveling at 40

   miles per hour. (Morgan White was telling students that she was traveling at 40

   miles per hour.) Vehicle Event Data Recorder report reflects that Driver Morgan

   White was traveling 96 miles per hour on a 30 miles per hour roadway, at time

   of impact.

33. Former Police Captain John D. Coleman failed to supervise. He and his staff

   failed the public by disregarding the S.H.I.N.E. principles (Service, Humility,

   Integrity, Nobility and Excellence) and to violate their own policy, procedures

   and best practices, and allowing a faulty investigation to continue, depriving

   Madelyn Quiroz Crime Victim Compensation benefits for over two and a half

   (2 2) years. Leaving Madelyn Quiroz with limited support and medical care.

   Note: The first twelve (12) months are the most critical time to receive proper

   and adequate medical treatment for spinal cord injury for healing and

   progression.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 13 of 64 PageID #: 59




34. Private Investigator Prado s report indicates that Officer Duos who was on the

   scene later had a conversation and suggested to Captain Coleman that he

   believed this case should be investigated as reckless driving and Captain

   Coleman told him to stay out of it that he, Officer Duos was no longer in

   Criminal Investigation Division and was now on Patrol.

35. Defendant City of Dayton Police Former Criminal Investigation Division

   Lieutenant Terri Hughes- White female, may be served summons at Liberty

   County Constable Precinct 1, Constable Terri Hughes, 2103 Cos Street, Liberty,

   Texas 77535 or wherever she may be found and she was acting under color of

   law.


36. City of Dayton Police Former Criminal Investigation Division Lieutenant Terri

   Hughes, while acting under the color of law, discriminated against Madelyn

   Quiroz and she denied Madelyn Quiroz life, liberty and property in the pursuit of

   happiness. She denied Madelyn Quiroz equal protection of the law. Lieutenant

   Terri Hughes was the custodian for the department body cameras. All officers

   who were on the scene body camera footage were deleted. She previously

   worked for over 10 years at the Liberty County District Attorney s office as an

   Investigator, lenowing that the District Attorney does not handle juvenile cases.

   However, she was assigned to the case file and submitted the incomplete intake
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 14 of 64 PageID #: 60




   case file to the District Attorney s office where it sat for over five (5) months, a

   stall tactic to run the time for statutes of limitations.

37. After Mrs. Quiroz made several status requests, former Lieutenant Terri Hughes

   submitted an incomplete intake case file to the Liberty County Attorney

   Matthew Poston s office who handles juvenile cases. Former Lieutenant Terri

   Hughes requested that the incomplete intake case file be denied or accepted. She

   knew not all the details were in it. The Investigative suggestions to Former

   Lieutenant Terri Hughes from the Assistant County Attorney McCarty were not

   followed. She was untruthful to Mrs. Quiroz when she stated she was not the

   investigator assigned to the case. She never interviewed the driver, Morgan

   White, passengers in the vehicle or witnesses from the crash scene or witnesses

   who got high with Morgan or observed her getting high throughout the day at the

   Dayton High School premises. Nathan Herrera, who was the father of a witness

   who had knowledge of the drug usage of the driver, was never contacted. This

   information was the reason for the failed attempt to get a subpoena for Morgan

   White’s medical records. She failed the public by disregarding the S.H.LN.E.

   principles (Service, Humility, Integrity, Nobility and Excellence) and to violate

   their own policy, procedures and best practices, and she lied to cover up the

   faulty investigation. She deprived Madelyn Quiroz Crime Victim Compensation

   benefits for over two and a half (2V2) years. Leaving Madelyn Quiroz with
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 15 of 64 PageID #: 61




   limited support and medical care. Note: The first twelve (12) months are the

   most critical time to receive proper and adequate medical treatment for spinal

   cord injury for healing and progression.

38. Private Investigator Prado s report states that Lieutenant Terri Hughes’s own

   conduct shows that even if she believed that Sergeant K. Seibert was the

   investigating officer, she intentionally withheld numerous emails and pertinent

   information that an assigned investigator should have. He also states, it is his

   opinion and belief that whether by negligence, incompetence or intentionally, Lt.

   Hughes, failed to perform her obligations/duties in this case, which should have

   resulted in the apprehension of a person on at least one felony offense. He found

   a variety of investigative errors and reporting deficiencies as well as misleading

   information that formed his opinion. It is also his belief that a totality of the

   facts and circumstances in this case are in violation of Dayton Police

   Department General Orders Policy 2.1 Code of Conduct III Code of Ethics.

39. Private Investigator Prado states that he believes that when the totality of the

   facts and circumstances around this investigation reviewed a reasonable person

   would conclude that Lieutenant Hughes acted intentionally and hindered this

   investigation since July 2020 until January of 2022, possibly with malice.

40. Private Investigator Prado investigation report states, the case eventually

   resulted in one felony count of Aggravated Assault and most likely a second
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 16 of 64 PageID #: 62




   count of Aggravated Assault. The victims in this case, the Quiroz Family, spent

   over $20,000.00 attempting to find the facts in this case. This same Family also

   could have had assistance from the Crime Victims Compensation Fund for the

   last two years that they did not receive.

41. Private Investigator Prado stated in his report that his recommendation to

   sustain the complaint of Lieutenant Terri Hughes for Dereliction of Duty.

42. Former Lieutenant Terri Hughes was a District Attorney Investigator for over 10

   years prior to being employed by the Dayton Police Department. Even after her

   termination, she became employed within 3 months with Liberty County

   Constable Precinct One.

43. Defendant City of Dayton Police Sergeant Kristen Seibert, White female.

   Through its City Secretary, may be served with summons at City Hall, 117

   Cook Street, Dayton Texas 77535 or wherever she may be found and she was

   acting under color of law

44. City of Dayton Police Sergeant Kristen Seibert, while acting under the color of

   law, discriminated against Madelyn Quiroz and she denied Madelyn Quiroz life,

   liberty and property in the pursuit of happiness. She denied Madelyn Quiroz

   equal protection of the law. She also is in violation by disregarding the

   S.H.I.N.E. principles (Service, Humility, Integrity, Nobility and Excellence) and

   to violate their own policy, procedures and best practices, and allowing a faulty
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 17 of 64 PageID #: 63




   investigation to continue, depriving Madelyn Quiroz Crime Victim

   Compensation benefits for over two and a half (2!4) years. Leaving Madelyn

   Quiroz with limited support and medical care. Note: The first twelve (12)

   months are the most critical time to receive proper and adequate medical

   treatment for spinal cord injury for healing and progression. Sergeant Kristen

   Seibert's body camera footage was deleted. Sergeant K. Seibert was the lead

   Field Training Officer for Rookie of four (4) weeks. Seibert s Initial

   Investigation report does not exist. Dayton PD Case # 120573 only has

   supplemental reports. The supplemental reports are missing pertinent data and

   inaccurate information was documented. Sergeant K. Seibert was untruthful

   about photos of the vehicle and of the scene. Sergeant K. Seibert observed

   Morgan White being assessed, tended to and loaded up by Allegiance

   Emergency Medical Services and was ground transported with non-life

   threatening injuries to Methodist Hospital in Baytown prior to Madelyn Quiroz.

   Sergeant K. Seibert and her trainee documented that Morgan White was life

   flighted. Mrs. Quiroz brought this to the attention of Sergeant K. Seibert,

   Captain Coleman, Chief Vine and the city council members no-one would not

   correct the report until 2 years later when Detective Dale made a correction on

   the report. Sergeant risten Seibert falsified witness statements on her

   supplement report.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 18 of 64 PageID #: 64




45. Private Investigator Prado s investigation reported that Sergeant K. Seibert

   failed to inventory the vehicle to preserve property that was within the vehicle

   and document it with an inventory in violation of General Orders 7.16V. An

   Inventory would have documented Madelyn Quiroz s cell phone, estimated

   value of $1,000.00 and the property of Driver, Morgan White in the front floor

   board that was removed by the unknown male. Sergeant K. Seibert is seen via

   patrol vehicle dash camera, speaking to the non-first-responder, white male on

   scene and she allows him to enter the crime scene. The white male is seen

   removing property and evidence from the driver side vehicle floor board.




46. Defendant The City of Dayton Volunteer Fire Department Through its City

   Secretary, may be served with summons at City Hall, 117 Cook Street, Dayton

   Texas 77535 or wherever it may be found and was acting under color of law

47. The City of Dayton Volunteer Fire Department, while acting under the color of

   law, discriminated against Madelyn Quiroz and denied Madelyn Quiroz life,

   liberty and property in the pursuit of happiness. Denied Madelyn Quiroz equal

   protection of the law. Failed to provide timely medical attention post-crash.

   Failed the public and victim, Madelyn Quiroz, a minor.

48. Defendant, The City of Dayton Volunteer Fire De artment, Former Chief

   Murphy Green. White male. Through its City Secretary, he may be served
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 19 of 64 PageID #: 65




   with summons at City Hall, 117 Cook Street, Dayton Texas 77535 or wherever

   he may be found and he was acting under color of law

49. The City of Dayton Volunteer Fire Department, Former Chief Murphy Green

   was acting under color of law when he discriminated against Madelyn Quiroz

   and he denied Madelyn Quiroz life, liberty and property in the pursuit of

   happiness. He denied Madelyn Quiroz equal protection of the law. Failed to

   provide timely medical attention post-crash. An argument ensued on scene with

   City of Dayton Fire Chief Murphy Green and Allegiance Medical Service

   Paramedic Steve Smith about contacting Life Flight or not for Madelyn Quiroz

   which caused a serious delay of activating Level 1 Trauma protocols. He failed

   the public and minor victim, Madelyn Quiroz. Life flight was ultimately

   employed after the argument dissipated wasting valuable time approximately

   5-10minutes when EMS finally arrived. The investigative report states that Life

   Flight was contacted by Liberty County Emergency Medical Service, who was

   the last Emergency response team that arrived at the scene.

50. Defendant Liberty County District Attorney Jennifer Bergman Harkness,

   White female. She may be served with summons 1923 Sam Houston Street,

   Liberty, Texas 77575 or wherever she may be found and she was acting under

   color of law.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 20 of 64 PageID #: 66




 51. District Attorney Jennifer Bergman Harkness discriminated against Madelyn

   Quiroz and she denied Madelyn Quiroz life, liberty and property in the pursuit of

   happiness and she also denied Madelyn Quiroz equal protection of the law.

 52. District Attorney Jennifer Bergman Harkness refused Mrs. Quiroz s request to

   meet with her for over two years. In attempts for the District Attorney J.

   Bergman Harkness and her staff to conduct a full and proper investigation into

   Dayton Police Department Case # 120573. After two (2) years, Dayton Police

   Lieutenant Terri Hughes was terminated by Dayton Police Chief Woods for

   Dereliction of duty for the role she played in Dayton Police Department Case

   #120573. Soon after, Mrs. Quiroz also contacted Texas Ranger Bess and

   requested a full and proper investigation in Dayton Police Department Case #

    120573. Ranger Bess stated that the last time he tried helping Mrs. Quiroz, he

   got mud slung at him after meeting with District Attorney J. Bergman Harkness

   and County Attorney Matthew Poston. He contacted Mrs. Quiroz, stated he

   spoke to District Attorney Jennifer Bergman Harkness about Former Dayton

   Police Lieutenant Terri Hughes who was terminated for deletion of duty will not

   pursue any charges on Terri Hughes because she feels that the body camera

   footage that Lieutenant Terri Hughes was in charge of as custodian of the body

   camera were deleted by accident. District Attorney J. Bergman Harkness or her

   office never investigated the misconduct and the faulty investigation, However,
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 21 of 64 PageID #: 67




   came to the conclusion that it was a mistake. District Attorney J. Bergman

   Harkness failed the public and victim, Madelyn Quiroz. Madelyn was deprived

   equal protection of the law and denied due process of the law.

 53. Defendant, Liberty County Attorney Matthew Poston.,White male. He may

   be served with summons at 1923 Sam Houston Street, Liberty, Texas 77575 or

   wherever he may be found.

 54. Liberty County Attorney Matthew Poston is being sued in his individual

   capacity and, at all times relevant to this case, acting under the color of law as a

   policymaker for Liberty prosecutions and worked to deny the equal protections

   under the 14th amendment in deciding which victims of crimes he/she would

   seek charges against and obstruct justice. In particular, refusing to pursue claims

   against White suspects on behalf of Hispanic females.

55. Liberty County Attorney Matthew Poston discriminated against Madelyn

   Quiroz. He denied Madelyn Quiroz life, liberty and property in the pursuit of

   happiness and he also denied Madelyn Quiroz equal protection of the law.

56. Liberty County Attorney Matthew Poston failed to ensure that Dayton Police

   Department acted following standard practice during the follow-up investigation

   of the incident.

57. Liberty County Attorney Matthew Poston failed to provide much-needed

   guidance and direction to Dayton Police Department, even though he is
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 22 of 64 PageID #: 68




   responsible for adjudicating all criminal cases involving minors in Liberty

   County.

58. Liberty County Attorney Matthew Poston failed to recognize and correct

   inconsistencies and errors in the handling of the investigation by the Dayton

   Police Department, even when he was made aware of these failures.

59. Once the incident investigation was completed and a criminal charge was

   brought against Morgan White, County Attorney Matthew Poston failed to act in

   good faith and admitted that he and his office failed to meet their legal due

   diligence, leaving Madelyn with few options for legal redress.

60. Liberty County Attorney Matthew Poston has deliberately failed Madelyn

   Quiroz.

61. The County Attorney s office failed to notify Madelyn that the assigned Judge,

   Judge Chambers, recused himself from the case.

62. The County Attorney s office failed to notify Madelyn that Montgomery County

   Judge Martin took over the case from Judge Chambers.

63. On Tuesday, May 10, 2022 Judge called docket for a criminal case Court Cause

   No (S). 22CC-JUV-00006. (Tuesdays are typically civil cases that are heard).

64. The County Attorney’s office failed to notify Madelyn of any court proceedings

   related to The State of Texas vs Morgan Skye White. No (S). 22CC-JUV-00006.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 23 of 64 PageID #: 69




65. Liberty County Attorney Matthew Poston admitted that he and his office were

   at fault for failing to meet their legal due diligence, leaving Madelyn with few

   options for justice. Now since Morgan White is an adult, there is nothing they

   can do to move forward with prosecuting the case unless some unknown

   evidence presents itself prior to Morgan s 18th birthday.

66. Liberty County Attorney Matthew Poston has evidence that was unknown prior

   to Morgan s 18th birthday and was submitted after she turned 18 years old. A

   witness submitted a statement that she saw Morgan and Alexia getting high in

   the school restroom, minutes before driving away from school and eventually

   into the crash. Despite this, Liberty County Attorney Matthew Poston feels like

   it would be too hard to try this case, so he has made it very clear that he will not

   submit this new evidence.

67. Note: The evidence was in the file prior to trial, but he nor Prosecutor Saldana

   did not introduce it. Liberty County Matthew Poston denied having that new

   evidence, until Mrs. Quiroz spoke to the new Chief of Police, Chief Woods and

   he confirmed evidence was submitted, (case file has witnesses stating that they

   got high with Morgan every morning and another witness who stated Morgan

   was getting high in the parking lot prior to leaving the school).
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 24 of 64 PageID #: 70




68. Liberty County Matthew Poston admitted that he received the new evidence.

   Specifically, a new witness, unknown to anyone before Morgan White turned 18

   years old, who could testify to Morgans impairment before the crash.

69. Liberty County Attorney Prosecutor Saldana has never spoken with Madelyn,

   nor has he ever been involved in the case prior to the court proceedings.

70. Liberty County Attorney Matthew Poston, Prosecutor Saldana and Prosecutor

   McCarty admitted they have never viewed any videos related to the case.

71. May 10, 2022 Court Trial No (S). 22CC-JUV-00006 transcript reads:

72. Judge Martin gave prior notice for the state to notify all parties involved.

73. Liberty County Matthew Poston s office contacted Sergeant K. Seibert and

   Detective Dale the morning of trial and Liberty County Matthew Poston stated

   Former Lieutenant Terri Hughes was out of town in Dallas.

74. Morgan White, Morgan’s Attorney, and Morgan’s mother all appeared in court.

75. Motion that is filed by Morgan’s attorney, Mr. Turner to dismiss is Granted .

76. Defendant, Liberty County Assistant Attorney Matthew Saldana ,Hispanic

   male. He may be served with summons at 1923 Sam Houston Street, Liberty,

   Texas 77575 or wherever he may be found and he was acting under color of law.

77. Liberty County Assistant Atto ey Matthew Saldana is being sued in his

   individual capacity and, at all times relevant to this case, acting under the color

   of law as a policymaker for Liberty prosecutions and worked to deny the equal
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 25 of 64 PageID #: 71




   protections under the 14th amendment in deciding which victims of crimes

    he/she would seek charges against and obstruct justice. In particular, refusing to

   pursue claims against White suspects on behalf of Hispanic females.

78. Liberty County Assistant Attorney Matthew Saldana discriminated against

    Madelyn Quiroz. He denied Madelyn Quiroz life, liberty and property in the

    pursuit of happiness and he also denied Madelyn Quiroz equal protection of the

    law.


79. The County Attorney s office failed to notify Madelyn that Montgomery County

    Judge Martin took over the case from Judge Chambers.

 80. On Tuesday, May 10, 2022 Judge called docket for a criminal case Court Cause

   No (S). 22CC-JUV-00006. (Tuesdays are typically civil cases that are heard)

 81. The County Attorney s office failed to notify Madelyn of any court proceedings

   related to The State of Texas vs Morgan Skye White. No (S). 22CC-JUV-00006.

82. Liberty County Attorney Matthew Poston admitted that he and his office were

    at fault for failing to meet their legal due diligence, leaving Madelyn with few

    options for justice. Now since Morgan White is an adult, there is nothing they

    can do to move forward with prosecuting the case unless some unknown

    evidence presents itself prior to Morgan’s 1 Sth birthday.

83. Liberty County Attorney Matthew Poston has evidence that was unknown prior

   to Morgan’s 18th birthday and was submitted after she turned 18 years old. A
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 26 of 64 PageID #: 72




    witness submitted a statement that she saw Morgan and Alexia getting high in

    the school restroom, minutes before driving away from school and eventually

    into the crash. Despite this, Liberty County Attorney Matthew Poston feels like

    it would be too hard to try this case, so he has made it very clear that he will not

    submit this new evidence.

 84. Note: The evidence was in the file prior to trial, but he nor Prosecutor Saldana

    did not introduce it. Liberty County Matthew Poston denied having that new

    evidence, until Mrs. Quiroz spoke to the new Chief of Police, Chief Woods and

    he confirmed evidence was submitted, (case file has witnesses stating that they

    got high with Morgan every morning and another witness who stated Morgan

    was getting high in the parking lot prior to leaving the school).

85. Liberty County Matthew Poston admitted that he received the new evidence.

    Specifically, a new witness, unknown to anyone before Morgan White turned 18

   years old, who could testify to Morgans impairment before the crash.

86. Liberty County Attorney Prosecutor Saldana has never spoken with Madelyn,

   nor has he ever been involved in the case prior to the court proceedings.

87. Liberty County Attorney Matthew Poston, Prosecutor Saldana and Prosecutor

   McCarty admitted they have never viewed any videos related to the case.

88. May 10, 2022 Court Trial No (S). 22CC-JUV-00006 transcript reads:

89. Judge Martin gave prior notice for the state to notify all parties involved.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 27 of 64 PageID #: 73




 90. Liberty County Matthew Poston s office contacted Sergeant K. Seibert and

    Detective Dale the morning of trial. Liberty County Matthew Poston stated

    Former Lieutenant Terri Hughes was out of town in Dallas.

 91. Morgan White, Morgan s Attorney, and Morgan’s mother all appeared in court.

 92. Motion that is filed by Morgan’s attorney, Mr. Turner to dismiss is Granted .

 93. Liberty County Assistant Prosecutor McCarty was the initial assigned

    prosecutor when the Liberty County Atto ey’s office received the said case and

    she has spent many hours on the case; to include speaking with Madelyn and

    Marina Quiroz. But was removed as the Prosecutor at time of Trial

    proceedings.

94. Defendant The City of Liberty Fire Department Emergency Medical

    Service. May be served with summons at 1912 Lakeland, Liberty, Texas 77575

    or wherever he may be found and he was acting under color of law.

95. The City of Liberty Fire Department Emergency Medical Service discriminated

    against Madelyn Quiroz and denied Madelyn Quiroz life, liberty and property in

    the pursuit of happiness and he also denied Madelyn Quiroz equal protection of

    the law.

96. Flavio Quiroz, Madelyn’s father, was denied access to her by the City of Liberty

    Fire Emergency Medical Service paramedics Alvarez and Grimes. At the time

    of the motor vehicle collision , Madelyn was a minor. Mr. Quiroz was denied
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 28 of 64 PageID #: 74




   access to his child numerous times and dismissed by slamming the rear door to

   the ambulance, almost catching Mi'. Quiroz s hand between the doors. Medical

   history for Madelyn was not obtained by Emergency Medical Services due to

   this action as well as authorizations. This is evident not only by Mr. Quiroz’s

   public statements and complaint to the Dayton City Council, but to the empty

   medical history sections and signature by LifeFlight in place of the guardian.

97. Defendant, The City of Liberty Fire Department Emergency Medical

   Service Paramedic Katelyn Grimes. White female. She may be served with

   summons at 1912 Lakeland, Liberty, Texas 77575 or wherever she may be found

   and she was acting under color of law.




98. The City of Liberty Fire Department Emergency Medical Service Paramedic

   Katelyn Grimes discriminated against Madelyn Quiroz and denied Madelyn

   Quiroz life, liberty and property in the pursuit of happiness and he also denied

   Madelyn Quiroz equal protection of the law.

99. Flavio Quiroz, Madelyn’s father, was denied access to her by the City of Liberty

   Fire Emergency Medical Service paramedics Alvarez and Grimes. At the time

   of the motor vehicle collision , Madelyn was a minor. Mr. Quiroz was denied

   access to his child numerous times and dismissed by slamming the rear door to

   the ambulance, almost catching Mr. Quiroz’s hand between the doors.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 29 of 64 PageID #: 75




 100. Medical history for Madelyn was not obtained by Emergency Medical

   Services due to this action as well as authorizations. This is evident not only by

   Mr. Quiroz s public statements and complaint to the Dayton City Council, but to

   the empty medical history sections and signature by LifeFlight in place of the

   guardian.

 101. Defendant, Allegiance Mobile Health Emergency Medical Service, May

   be served with summons at 201 East 4th Street, Livingston, Texas 77351 or

   wherever he may be found and he was acting under color of law.

 102. Allegiance Mobile Health Emergency Medical Service discriminated against

   Madelyn Quiroz and denied Madelyn Quiroz life, liberty and property in the

   pursuit of happiness and he also denied Madelyn Quiroz equal protection of the

   law.


 103. Allegiance Mobile Health Emergency Medical Service allowed Paramedic to

   violate policy and procedures by not submitting an incident call report.

 104. An argument ensued on scene with Allegiance Medical Service Paramedic

   Steve Smith and City of Dayton Fire Chief Murphy Green about contacting Life

   Flight or not for Madelyn Quiroz which contributed to the delay of activating

   Level 1 Trauma protocols. He failed the public and minor victim, Madelyn

   Quiroz.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 30 of 64 PageID #: 76




 105. Defendan Allegiance Mobile Health Medical Service Paramedic Steve

   Smith, White male. May be served with summons at 201 East 4th Street,

   Livingston, Texas 77351 or wherever he may be found and he was acting under

   color of law.


 106. Allegiance Mobile Health Emergency Medical Service Paramedic Steve

   Smith discriminated against Madelyn Quiroz and denied Madelyn Quiroz life,

   liberty and property in the pursuit of happiness and he also denied Madelyn

   Quiroz equal protection of the law. He failed the public and victim, Madelyn

   Quiroz, a minor.


 107. An argument ensued on scene with Allegiance Medical Service Paramedic

   Steve Smith and City of Day on Fire Chief Murphy Green in reference to

    contacting Life Flight or not for Madelyn Quiroz which resulted in the delay of

   activating Level 1 Trauma protocols and medical care for Madelyn s obvious

   and serious medical needs.

 108. Per Investigation of Motor Vehicle Collision (MVC) of 01/23/2020.

   Resulting in the Injuries of Madelyn Quiroz.

 109. On January 23, 2020, at 1449 Madelyn Quiroz (16) was the seatbelt

   restrained, backseat passenger in a 2014 Nissan Maxima sedan vehicle that was

   being driven and operated by Morgan White (16). Ms. White was traveling at a

   high rate of speed going south on Waco Street towards TX-US Hwy 90, when
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 31 of 64 PageID #: 77




   she lost control of her vehicle at the Railroad crossing that enters into the Rail

   yard owned and operated by Burlington Northern Santa Fe Corporation (BNSF)

   Railroad. The vehicle became airborne landing on the rails owned by Union

   Pacific Railroad.

 110. According to video evidence, Allegiance Mobile Health Emergency Medical

   Service Paramedic Steve Smith violated Texas DSHS 157.2(1) and RCW

   74.34.020(1).

 111. Allegiance Mobile Health Emergency Medical Service Paramedic Steve

   Smith failed to properly assess Ms. Madelyn Quiroz s injuries thus delaying her

   treatment and transport to a Level 1 Trauma Facility. Had an assessment been

   done, Mr. Smith would have known that Ms. Madelyn Qurioz had multiple life

   threatening injuries, including but not limited to; internal bleeding as found to be

   evident by the City of Liberty Fire Emergency Medical Service personnel, who

   upon their assessment, activated Trauma Protocol and immediately requested air

   transport to Memorial Hermann Medical Center a Level 1 Trauma Center, for

   treatment. Evidence shows that Allegiance Mobile Health Emergency Medical

   Service Paramedic Steve Smith is negligent to provide medical treatment, denied

   medical treatment, withheld medical treatment and abandoned Ms. Madelyn

   Quiroz. Allegiance Mobile Health Emergency Medical Service Paramedic Steve
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 32 of 64 PageID #: 78




    Smith instead, left a critical patient in the care of a much lower level Emergency

   Medical Technician without ALS ability and did not activate Trauma Protocol.

 112. The investigation also brings forth physical evidence. The City of Liberty

   Fire Emergency Medical Service took a report from Allegiance Mobile Elealth

   Emergency Medical Service Paramedic Steve Smith. Evidence shows

   Paramedic Steve Smith did not do a detailed assessment of Ms. Madelyn Quiroz,

   yet gave a report to The City of Liberty Fire Emergency Medical Service as if he

   had and his assessment was accepted and documented as, Prior To Arrival

   (PTA).

 113. Defendant, Ramji Law Group a.k.a. Adam Ramji . May be served with

   summons at 9186 Katy Freeway, Houston, Texas 77055 or wherever he may be

   found and he was acting under color of law.

 114. Ramji Law Group a.k.a. Adam Ramji deprived Madelyn Quiroz life, liberty

   and property in the pursuit of happiness and also denied Madelyn Quiroz equal

   protection of the law.

 115. Madelyn was under duress when directed to sign a release of record/contract

   while she was under doctors care. Madelyn was inpatient at the Kennedy

   Krieger Rehabilitation for treatment due to her paraplegia condition which

   included mental healthcare.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 33 of 64 PageID #: 79




 116. Ramji Law Group interfered with a criminal investigation. Communications

   began between Ramji Law Group and the City of Dayton, Attorney Brandon

   Davis and Adam Ramji backed off from pursuing open records. Ramji Law

   Group also approved the release of the wrecked 2014 Nissan Maxima for

   Investigational purposes and defective product liability to Marina and Madelyn

    Quiroz .

 117. Defendant, Jamey Wayne Bice a.k.a, Jaime/James & Jamey Bice, White

   male, is an individual resident of Liberty County and he may be served with

    summons at Jamey Bice a.k.a. Jaime/James & Jamey Bice % Union Pacific

   Railroad, 1400 Douglas Street, Omaha, NE 68179 or wherever he may be found.

 118. Jamey Bice a.k.a. Jaime/James & Jamey Bice interfered in a criminal

   investigation. He denied Geico Insurance company to release the wrecked 2014

   Nissan Maxima for Investigational purposes and defective product liability to

   Marina and Madelyn Quiroz.

 119. Defendant, Stephanie Lee Blum Bice, White female, is an individual

   resident of Harris County and she may be served with summons at 10042 Stone

   Briar Drive, Baytown, Texas 77521 or wherever she may be found.

 120. Stephanie Lee Blume Bice interfered in a criminal investigation. She denied

   Geico Insurance company to release the wrecked 2014 Nissan Maxima for

   Investigational purposes and defective product liability to Marina and Madelyn
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 34 of 64 PageID #: 80




   Quiroz. Stephanie Lee Blume Bice took Morgan White to the hospital uninvited

   and unannounced whose callous actions caused Madelyn Quiroz excruciating

   pain and extreme mental anguish.

 121. Defendant, Morga Skye White. White female, is an individual resident of

   Harris County and she may be served with summons at 10042 Stone Briar Drive,

   Baytown, Texas 77521 or wherever she may be found.

 122. Morgan White was driving recklessly and was chasing then racing with

   Eduardo Hernandez before the horrific vehicle collision.

 123. Morgan White was traveling over 96-mph on a 30-mph roadway.

 124. Morgan White caused Madelyn Quiroz to become paralyzed.

 125. Witnesses observed Morgan getting high before school, during lunch and at

   the end of last period.

 126. Morgan White amved at Memorial Hermann hospital after Mrs. Quiroz did

   not respond to Morgan White s text. Morgan White harassed and intimidated

   Madelyn Quiroz by showing up unannounced and took pictures of Madelyn s

   disabled left arm. Morgan was able to see that Madelyn was paralyzed and she

   told Madelyn that she (Morgan ) did nothing wrong and that this could have

   happened to anyone. She caused Madelyn extreme pain and anguish by telling

   Madelyn that at least she still had her smile. Morgan took no accountability for

   her actions that caused Madelyn’s serious bodily injuries that caused her to
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 35 of 64 PageID #: 81




   become paralyzed that Madelyn's stomach instantly began hurting and Madelyn

   was violently vomiting. Nurses had to be called.

 127. Defendant, Eduardo Hernandez. Hispanic male, is an individual resident

   of Liberty County and may be served with summons at 545 County Road,

   Dayton, TX 77535 or wherever he may be found. He was driving recklessly

   and was racing with Morgan White. He later admitted to driving at a high rate

   of speed of over 85 miles per hour on a 30 miles per hour roadway ( Morgan

   White had crossed the double solid marked lane, facing against traffic, chasing

   him, racing him) and stated he felt responsible when he found out that Madelyn

   was life flighted and he fell to his knees.

 128. Defendant, NISSAN North America a.k.a. NISSAN Motor Corporation

   may be served with summons at 1 Nissan Way, Franklin, TN 37067 or wherever

   the corporation may be found.

 129. NISSAN North America a.k.a. NISSAN Motor Corporation ( Nissan

   herein) deprived Madelyn Quiroz life, liberty, property and in the pursuit of

   happiness. Nissan North America also denied Madelyn Quiroz was neglgenct in

   putting a defective product in commerce.. Nissan safety mechanisms were

   defective, contributing to Madelyn s catastrophic injuries.

 130. NISSAN North America a.k.a. NISSAN Motor Corporation failed Madelyn

   Quiroz by producing and manufacturing a vehicle with safety hazards. Madelyn
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 36 of 64 PageID #: 82




   Quiroz was deprived of proper safety measures. Public complaints for Nissan

   Vehicles are noted with brake and airbag defects. According to the driver, the

   brakes failed.The back seat airbags didn't deploy, leaving Madelyn with no

   safety protection, causing catastrophic injuries.

 131. Defendant, Union Pacific Railroad may be served with summons at 1400

   Douglas Street, Omaha, NE 68179 or wherever the corporation may be found.

 132. Union Pacific Railroad deprived Madelyn Quiroz life, liberty, property and in

   the pursuit of happiness. They also denied Madelyn Quiroz equal protection of

   the law and interfered with a criminal investigation.

 133. While Ms. Marina Quiroz conducted the investigation, in reviewing the audio

   and visual of the Dayton Police dash camera video. The Dayton Police

   Department and dispatch stated that they were in contact with Union Pacific

   Railroad. The Union Pacific Railroad company was notified to stop any trains

   and also, that a vehicle le t the roadway and crashed on their property.

   According to Sergeant K. Seibert. By policy and procedure, the Union Pacific

   Railroad are required to check for damages to the railroad property and

   equipment. But, in this case, for some unknown reason, there was no report.

   Union Pacific Railroad, they stated they could not locate an initial, supplemental

   report or camera footage from their files. It was withheld in an effort to conspire

   to obstruct justice. According to the Dayton Police Department, there is an
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 37 of 64 PageID #: 83




   unidentified white male who they claim was either Morgan s father or a Railroad

   employee. Although Morgan's step father is employed as an engineer for Union

   Pacific, he is on scene in civilian clothes comforting Morgan. The unidentified

   white male is seen entering the active crime scene wearing a blue shirt, baseball

   cap, blue jeans with radio by his hip, a camera and appears he is taking photos

   of the vehicle and is seen removing property and evidence from the driver s

   floorboard. He then talks to Sergeant K. Seibert. No record of this male or his

   actions on any report.

                        II. JURISDICTION AND VENUE

 134. This Court has jurisdiction over this case pursuant to 28 U.S.C Section 1331

   as this is a Civil Rights action brought pursuant to 42 U.S.C 1983.

                         III. FACTUAL BACKGROUND

 135. This is a Civil Rights action brought pursuant to 42 U.S.C. Section 1983 and

    1981 for her internal and external injuries by denying, delaying, refusing timely

   medical care for serious injuries of Madelyn Marina Quiroz causing her to

   become paralyzed and damages conducted in the state actors violation of

   Madelyn’s Civil Rights under.

 136. The denial and one and half hour delay in providing medical care was due to

   an argument by Steve Smith, paramedic and the City of Dayton Fire Chief,
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 38 of 64 PageID #: 84




   Murphy Green, acting under color of law, over whether to call Life Flight to

   transport to a hospital.

 137. No assessment of Madelyn s medical condition, by the Allegiance Mobile

   Health Emergency Medical Service Paramedic, Steve Smith was conducted at

   the scene.


 138. As a result of the lack of an assessment, the denial of reasonable medical care

    for an hour and a half after the collision, Plaintiff sustained serious bodily

    injuries and today is unable to walk.

 139. On or about January 23, 2020- At approximately 2:45 p.m. Two vehicles

   were driving reckless and racing at a high rate of speed on Waco St. in Dayton.

 140. The driver of the first vehicle, Morgan White, traveling on the opposite

   roadway against traffic, side by side with driver two, lost control, the vehicle

   went airborne and crashed onto railroad tracks, causing serious bodily injury to

   the back seat passenger in the car, Madelyn Quiroz.

 141. The driver of the second vehicle stopped at the scene and later admitted he,

   too, was traveling at a high rate of speed.

 142. City of Dayton first responders arrived shortly after the crash, including

   Dayton Police command staff.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 39 of 64 PageID #: 85




 143. City of Dayton Volunteer Fire Department Chief Murphy Green contacted

   Mrs. Quiroz and informed her that Madelyn was involved in an accident and that

   she would be transported by ambulance to Kingwood Hospital.

 144. Mi'. Flavio Quiroz later arrives at the scene and is told that Madelyn would be

   transported to Kingwood Hospital. While on scene, Mr. Flavio Quiroz was later

   told that Madelyn would be life flighted.

 145. After an hour and 30 minute (1 V2) long delay by the first responders on the

   scene to transport Madelyn to the hospital, she arrived at Memorial Hermann,

   Houston, Texas medical center.

 146. Madelyn sustained a broken back, a serious spinal cord injury, internal

   bleeding, five broken ribs, a partial collapsed lung, head trauma, face trauma,

   fractured nose, busted mouth, abdominal distention, bleeding spleen, three

   breaks in the left arm with a damaged radial nerve, abrasions and lacerations on

   bilateral hips.

 147. Due to these catastrophic injuries, Madelyn is now a paraplegic and confined

   to a wheelchair.

 148. The Dayton Police Officers, Captain John D. Coleman, Sergeant Kristein

   Seibert, Officer John Christopher Duos, Officer Donald McDaniel officers

   acting under color of law were deliberately indifferent to the serious medical

   needs of Madelyn as a victim of the crime of vehicular assault.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 40 of 64 PageID #: 86




 149. Rather than tend to the medical needs of the more seriously injured,

   Madelyn, the officers triaged Morgan Skye White and provided her immediate

   medical care

 150. Morgan Skye White suffered less serious injuries in the accident. According

   to a witness on scene, Morgan never lost grip of her cell phone.

 151. The Dayton Officers failed to follow several of their own internal policies

   regarding the investigation of major traffic collisions.

 152. On January 31, 2020, the Vehicle Crash Data Event Recorder was pulled, and

   the data revealed that Morgan was traveling at 96 mph on a 30 mph roadway, at

   time of impact.

 153. Mrs. Marina Quiroz, the mother of Madelyn who was a Harris County

   Sheriff s Deputy and an advanced accident investigator, contacted Dayton

   Police Captain John Coleman, who was acting under color of law at the scene of

   the crash, and requested an Accident Reconstructionist to investigate the crash.

   Captain John Coleman refused.

 154. Mrs. Quiroz contacted Dayton Police Chief Robert Vine while he was acting

   under color of law and requested the Harris County Sheriff’s Department to

   assist with an Accident Reconstruction.

 155. Dayton Police Chief Robert Vine failed to request assistance from Harris

   County Sheriff’s Department.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 41 of 64 PageID #: 87




 156. Mrs. Marina Quiroz on June 2, 2021 filed a Freedom of Information request

   with the City of Dayton and requested to see the body camera video, the dash

   camera video, photographs of the scene, photograph of the vehicles, videos of

   the intersection, data event documents, 911 call logs and any other documents

   related to the accident.

 157. The City of Dayton, submitted Mrs. Quiroz s Freedom of Information request

   to The Attorney General s office stated these records could be withheld if there

   is an active investigation.

 158. Mrs. Quiroz communicated with the Dayton Police Dispatcher Sgt. Ray, who

   stated the case was not being investigated because it was just an accident!

 159. On July 30, 2020 @ approximately 10:00am Lieutenant Terri Hughes

   communicated via email to Liberty County Assistant District Attorney McCarty

   that the mother of the injured is a law enforcement officer in Harris County and

   is not happy with the fact we believe this to be a motor vehicle ACCIDENT

   caused by failure to control speed (more than likely).

 160. However, the case records would not be released because the City of Dayton

   legal department claimed the police were conducting an active investigation.

 161. By October of 2021, no witnesses, including Madelyn were contacted, or

   interviewed by Dayton Police Department investigators.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 42 of 64 PageID #: 88




 162. Lacking any formal investigation by the Dayton Police Department, Mrs.

   Quiroz conducted her own investigation and notified City of Dayton officials

   about the faulty investigation conducted by Dayton Police Department.

 163. Due to the lack of investigation by the Dayton Police Department, Mrs.

   Quiroz hired Wayne Dolcefino Consulting to investigate the wrongdoing by

   Dayton Police Department personnel. The City of Dayton finally stated that the

   body camera recording of all police personnel that were involved in the crash

   investigation had been deleted.

 164. On or about November 19th, 2021. Wayne Dolcefino held a press conference

   in front of the Dayton Police Department and demanded City of Dayton officials

   hire an outside Independent Investigator.

 165. However, by this time, The City Manager Theo Melancon, Captain Coleman

   and Chief Vine had resigned or retired and were gainfully employed elsewhere.

 166. The outside investigator Jesse Prado s findings were significant, noting the

   rampant neglect and deliberate indifference on the part of the Dayton Police

   officers. As a result:

 167. Dayton Police Department Chief Robert Vine was found in violation of

    Failure to Supervise.

 168. Dayton Police Lieutenant Terri Hughes was terminated for Dereliction of

   Duty.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 43 of 64 PageID #: 89




 169. Dayton Police Department Sergeant Kristen Seibert was found to be in

    violation for failure to inventory the vehicle.

 170. In January of 2022, two years after the crash, Dayton Detective Dale

    conducted an investigation, and a felony warrant was issued for Morgan White.

 171. Because Morgan was a juvenile at the time of the crash, the case was

    assigned to the Liberty County Attorney s office.

 172. When Morgan turned eighteen, she left the jurisdiction of the County

    Attorney s office, and there is nothing they can do with the case unless some

    new evidence is presented prior to Morgan’s eighteenth birthday.

 173. Mi'. Poston admitted that he and his office failed to meet their legal due

    diligence, leaving Madelyn with few options for justice.

 174. Furthermore, he has evidence that was unknown prior to Morgan’s eighteenth

    birthday, and was submitted after she turned eighteen, but has made it very clear

    that he will not submit or release this new evidence.

                                      IV. CLAIMS

 175. Plaintiff incorporates herein the facts as set forth herein. All prerequisites for

    filing suit have been satisfied that Defendants owed a duty to provide her

    adequate medical care.

 176. After Madelyn was injured from the collision, she was bleeding from her

    face, crying, moaning, groaning from pain, and in obvious and critical need of
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 44 of 64 PageID #: 90




   emergency medical care and treatment. The ignoring and denying of medical

   care pose an objective and subjective substantial risk of harm to Madelyn.

 177. However, rather than treating her immediately, calling for life flight, medical

   personnel or EMS, or transporting her to a hospital to treat her injuries that

   resulted from the trauma from the excessive speed and vehicle collision the

    defendant s.

 178. While acting under the color of law, intentionally failed as officers stood by

    and allowed the officer to engage in the lack of treatment.

 179. The officers entered the back seat where Madelyn was located, but did not

    provide life-saving measures, timely summon medical care, or permit medical

   personnel to treat Madelyn Quiroz.

 180. The denial and delay of medical care to Madelyn Quiroz caused Madelyn

    Quiroz extreme physical and emotional pain and suffering and was a

    contributing cause of Madelyn Quiroz severe injuries.

 181. The denial and delay of medical care by the paramedics and officers deprived

    Madelyn Quiroz of the right to be secure in her person against unreasonable

    searches and seizures guaranteed to Madelyn Quiroz under the Fourth

    Amendment to the United States Constitution and as applied to state actors by

    the Fourteenth Amendment.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 45 of 64 PageID #: 91




 182. Madelyn Quiroz was frightened, suffered conscious pain and suffering, great

   physical pain and emotional distress up to the time of the vehicle collision, and

   also suffered the loss of enjoyment of life, loss of quality of life, and loss of

   earning capacity.

 183. The Dayton Police Command staff and officers knew that failure to provide

   timely medical treatment to Madelyn Quiroz could result in further significant

   injury or the unnecessary and wanton infliction of pain, but disregarded that

   serious medical need, causing Madelyn Quiroz s great bodily harm.

 184. The conduct of the Dayton Police Command staff, officers and defendants

   was willful, wanton, malicious, and done with reckless disregard for the rights

   and safety of Madelyn Quiroz and therefore warrants the imposition of

   exemplary and punitive damages as to the defendants. The defendants failed to

   render immediate medical care to Madelyn Quiroz after the vehicular assault.

 185. The misconduct described in this claim was objectively unreasonable and

   was undertaken intentionally with deliberate indifference or willful indifference

   to Madelyn Quiroz s constitutional rights.

 186. As a result of their misconduct, the Dayton Police Command staff, officers

   and defendants are liable for Madelyn Quiroz’s injuries, either because they

   were integral participants in the denial or delay of medical care or failed to

   intervene to prevent these violations.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 46 of 64 PageID #: 92




187. Defendants had common-law and statutory duties to use ordinary care in the

   operation of his and her vehicle. They negligently breached those duties and

   that negligence proximately caused Plaintiff s injuries and damages.

   Specifically, Defendants were negligent in the following particulars:




          a. Failing to keep a proper lookout;

          b. Racing,

          c. Failing to control the speed;

          d. Failing to yield right of way;

          e. Failed to maintain a single marked lane

          f. Proceeding at a high rate of speed, racing on the opposite lane against

             traffic.

          g. Failing to timely apply brakes so as to avoid collision

          h. In all things failing to act as a reasonable person using ordinary care in

              the same or similar circumstances.

 Delay in Medical Care under 42 USC 1983 and Medical Negligence - Chapter

 74 Texas Healthcare Liability Act.

 188. Plaintiff incorporates herein the facts as set forth herein. Accordingly, all

   perquisites for filing suit have been satisfied that Defendant medical providers,
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 47 of 64 PageID #: 93




   Emergency Medical Service owed Madelyn a duty to provide her adequate

   medical care.

 189. Defendant Medical Providers, delayed attending to Madelyn s serious

   medical needs after the need was obvious. They waited over nearly 30 minutes

   and left her without care after arriving on the scene.

 190. Defendant Medical Providers, breached their duty of care and deviated from

   the standard of care for healthcare medical Emergency Medical Service, police

   and medical providers by:

          a. failing to assess Madelyn Marina Quiroz s complaints of severe and

             excruciating pain, and visible injuries;

          b. failing to allow her to be immediately transported to the hospital prior

             to or immediately after the accident;

          c. failing to provide adequate medical care;

          d. failing to transport Madelyn Marina Quiroz to a hospital after

             becoming aware that Madelyn Marina Quiroz was suffering from

             serious medical needs;

 191. Finally, they breached their duty to medically monitor Madelyn Mari a

   Quiroz when she was involved in the collision.

192. As a result, this breach of care. Denial of medical care, delay in medical care,

   and refusal to life flight, transport to a hospital was a proximate cause of
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 48 of 64 PageID #: 94




   Madelyn Marina Quiroz s pain and suffering, and ultimately her catastrophic

   injuries;

 193. Defendants failed to recommend that Madelyn Marina Quiroz be transported

   to a hospital once he learned Madelyn Marina Quiroz condition and was having

   pain that could not be addressed immediately. Madelyn Marina Quiroz suffered

   damages.


          STRICT PRODUCT LIABILITY, DTPA VIOLATIONS, AND

               NEGLIGENCE CLAIMS AGAINST NISSAN AUTO

 194. NISSAN North America a.k.a. NISSAN Motor Corporation ( Nissan

   herein) failed Madelyn Quiroz by producing and manufacturing a vehicle with

   safety hazards. Madelyn Quiroz was deprived of proper safety measures.

 195. Public complaints for Nissan Vehicles are noted with brake, seatbelt and

   airbag defects. According to the driver, the brakes failed. The back seat airbags

   didn't deploy, leaving Madelyn with no safety protection, causing catastrophic

   injuries.

 196. Plaintiffs incorporates the above facts by reference, at the time of the crash,

   Madelyn was a passenger in the vehicle manufactured by Nissan and suffered

   severe bodily injury leaving her paralyzed from the waist down Nissan knew

   that a defect of the airbags were present.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 49 of 64 PageID #: 95




 197. It failed to recall or require a recall to repair the vehicle. Madelyn s injuries

   were a result of the failure of the airbag deployment from the Nissan she was

   riding in as a back seat passenger. Other passengers were in the front cabin but

    neither suffered severe bodily injury to the extent that Madelyn did.

 198. Nissan was a Manufacturer of the vehicle as defined in Texas Civil Practice

    & Remedies Code§ 82.001(4).

 199. The vehicle and its related equipment were designed, manufactured,

    constructed, and/or distributed by and through its agents and/or representatives

    of Defendants, Nissan was regularly engaged in the business of supplying or

   placing products, like the product in question, Nissan, in the stream of commerce

    for use by the consuming public, including




          STRICT PRODUCT LIABILITY, DTPA VIOLATIONS, AND

               NEGLIGENCE CLAIMS AGAINST NISSAN AUTO

200. NISSAN North America a.k.a. NISSAN Motor Corporation (“Nissan

   herein) failed Madelyn Quiroz by producing and manufacturing a vehicle with

    safety hazards. Madelyn Quiroz was deprived of proper safety measures.

201. Public complaints for Nissan Vehicles are noted with brake, seatbelt and

   airbag defects. According to the driver, the brakes failed.The back seat airbags
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 50 of 64 PageID #: 96




   didn't deploy, leaving Madelyn with no safety protection, causing catastrophic

   injuries.

202. Plaintiffs incorporates the above facts by reference, at the time of the

   accident, Madelyn was a passenger in the 2014 Nissan Maxima, manufactured

   by, Nissan and suffered severe bodily injury leaving her paralyzed from the chest

   down. Her injuries were a result of the failure of the airbag deployment from the

   Nissan she was riding in as a back seat passenger.

203. Other passengers were in the front cabin but neither suffered severe bodily

   injury to the extent that Madelyn did. The airbag recall for this vehicle was

   issued after the collision occurred, on May 27, 2015.

204. Airbags issues top the list for common problems with 2014 Nissan Maximas

   although there were no recalls for airbags.

205. The 2014 Nissan Maxima at issue in this suit was manufactured, marketed,

   and distributed by Nissan was a Manufacturer of the vehicle as defined in

   Texas Civil Practice &Remedies Code§ 82.001(4).

206. The vehicle and its related equipment were designed, manufactured,

   constructed, and/or distributed by and through its agents and/or representatives

   of Defendants, Nissan, was regularly engaged in the business of supplying or

   placing products, like the product in question, 2014 Nissan Maxima, in the
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 51 of 64 PageID #: 97




   stream of commerce for use by the consuming public, including Madelyn, a

   foreseeable and intended beneficiary.

207. Further, such conduct was solely for commercial purposes. The vehicle in

   question and its parts remained unchanged from the time they were originally

   manufactured, distributed and sold by Defendant until they reached the driver of

   the Nissan s and ultimately resulted in Madelyn's injuries.

208. The Nissan was defective and in an unreasonably dangerous condition when

   it was placed into the stream of commerce by Defendants and remained

   defective and unreasonably dangerous at all times thereafter until May 27, 2015.

209. There was a safer alternative design available to the defendants. Specifically,

   there were alternative designs that, in reasonable probability, would have

   prevented or significantly reduced the risk of injury to Madelyn.

210. The safer alternative designs were economically and technologically feasible

   at the time the product left the control of the Defendant by the application of

   existing or reasonably achievable scientific knowledge.

211. At the time the vehicle was placed into the stream of commerce, it was, or

   should have been, reasonably expected and foreseeable that persons such as

   Madelyn would use the vehicle in the manner and application in which it was

   being used at the time Madelyn sustained her severe injuries.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 52 of 64 PageID #: 98




212. By way of example and without limitation, the product in question was

   unreasonably, dangerously defective in the following ways: it was not

   crashworthy and reasonably fit for clearly foreseeable collisions.

213. At the time the vehicle in question left control of the Defendant, it was

   defective and unreasonably dangerous in that it was not adequately designed,

   manufactured, or marketed to minimize the risk of injury to occupants. The front

   driver s-side frontal airbag was defectively designed, manufactured and/ or

   marketed in that the airbag failed to deploy without particles, and metal

   fragments rocketing at the passenger causing his bums, at the time of impact in

   the collision made the basis of this lawsuit;

214. Plaintiff incorporates the above facts by reference to damages sought.

   Violation of Texas Business & Commerce Code section 27.01, which is the basis

   of this suit, with actual awareness of the falsity of defendant, Nissan,

   representation or promise, which entitles plaintiff to exemplary damages under

   section 27.01(c).

215. Actual awareness of the falsity of the representation or promise made by

   Nissan, failure to disclose the falsity to plaintiff, and benefit from the falsity,

   which entitles plaintiff to exemplary damages under Texas Business &

   Commerce Code section 27.01(d).
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 53 of 64 PageID #: 99




216. Madelyn s injury resulted from, Nissan s, gross negligence, and malice,

   which, under Texas Practice and Remedies Code/Texas Rule of Civil

   Procedures, entitles plaintiff to exemplary damages as authorized by Texas Civil

   Practice & Remedies Code section 41.003(a).




      NEGLIGENCE CLAIMS AGAINST UNION PACIFIC RAILROAD

217. While Ms. Marina Quiroz conducted the investigation, in reviewing the audio

   and visual of the Dayton Police dash camera video. The Dayton Police

   Department and dispatch stated that they were in contact with Union Pacific

   Railroad. The Union Pacific Railroad company was notified to stop any trains

   and also, that a vehicle left the roadway and crashed on their property.

   According to Sergeant K. Seibert.

218. By policy and procedure, the Union Pacific Railroad are required to check for

   damages to the railroad property and equipment. But, in this case, for some

   unknown reason, there was no report. Union Pacific Railroad, they stated they

   could not locate an initial, supplemental report or camera footage from their

   files.


219. According to the Dayton Police Department, there is an unidentified white

   male who they claim was either Morgan’s father or a Railroad employee.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 54 of 64 PageID #: 100




    Although Morgan's step father does work for Union Pacific, he is on scene in

    civilian clothes comforting Morgan.

 220. The unidentified white male is seen entering the active crime scene wearing a

    blue shirt, baseball cap, blue jeans with radio by his hip, a camera and appears

    he is taking photos of the vehicle and is seen removing property and evidence

    from the driver s floorboard contaminating the what should have been

    designated as a crime scene. He then tlaked to Sergeant K. Seibert. Yet, there is

    no record of this unidentified male or his actions on any report.

                                      TOLLING

 221. Tolling of the statute of limitations is required. Plaintiffs seek to plead any

    applicable tolling provisions against any defendant that might assert and are

    required to negate in an effort to a bar claims to suit based on limitations since

    full information involving MADELYN MARINA QUIROZ s injuries and

    damages are being withheld relating to the individuals involved, and additional

    details. Plaintiffs seek to plead any applicable tolling provisions, including under

    the discovery rule, against any defendant that might assert a bar to suit based on

    limitations.

            PRESERVATION OF EVIDENCE/SPOLIATION NOTICE

 222. Defendants received a letter of preservation requesting and demanding that

    Defendants preserve and maintain all evidence pertaining to any claim or
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 55 of 64 PageID #: 101




    defense related to the incident made the basis of this lawsuit or the damages

    resulting therefrom. It warned failure to maintain such items shall constitute a

     spoliation of the evidence.

                                     DAMAGES

 223. As a result of her bodily injuries, which were proximately caused by

    Defendant s negligence, gross negligence, indifference to the serious medical

    needs of Plaintiff. Plaintiff is entitled to reasonable and proper compensation for

    the following legal damages:

 224. Past, present and future medical expenses;

           a. Past, present and future physical pain and mental anguish;

           b. Past, present and future physical impairment;

           c. Past, present and future disfigurement;

           d. Past, present and future lost wage-earning capacity;

           e. Disfigurement;

           f. Past, present and future out-of-pocket economic losses;

           g. Plaintiff s reasonable and necessary attorney’s fees under 1988;

           h. Cost of court;

           i. Pre-judment and post-judgment interest at the highest rates allowable

              by law;
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 56 of 64 PageID #: 102




           j. For such other and further relief, both general and special, at law and

               in equity, to which Plaintiff may show himself entitled.

 225. Plaintiff seeks actual damages and punitive damages in an amount within the

    jurisdictional limits of this Court. More specifically, Plaintiff seeks monetary

    relief of over $1,000,000,000.00.

 226. Plaintiffs and her mother suffered from pecuniary loss as a result of the

    injuries to Madelyn and Marina Quiroz and mental anguish as a result of the

    catastrophic injuries.

 227. Medical providers and officers listed above were aware of the foreseeable

    risk of depriving Madelyn of the required and/or requested medical care. They

    nonetheless deprived Madelyn, and she was injured due to this deprivation,

    inadequate medical care, and delay in providing medical care. She essentially

    was left to die.

 228. The conduct of the medical providers was grossly negligent. Rather than

    treating Madelyn immediately or calling for life flight, medical personnel or

    Emergency Medical Services to treat her serious bodily injuries that resulted

    from the collision, Defendants prioritized and triaged the less injured person.

    The Defendants exacerbated the injuries by denying her medical care.

 229. Plaintiff incorporates herein the facts as set forth herein. Accordingly, all

    prerequisites for filing suit have been satisfied that Dayton Police Command
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 57 of 64 PageID #: 103




    staff, officers and Emergency Medical Service providers engaged in wrongful

    conduct by denying and delaying medical care.

 230. Defendants, unknown medical providers and officers trained and supervised

    by Dayton Police and Fire acting under color of law when over an hour and 1

    deprived Madelyn of medical care, causing her catastrophic injuries and

    damages. Additionally, the officers acted with deliberate indifference to the

    rights of Madelyn. Because of Defendants, unknown and the above identified

    Dayton Police Command staff, Officers and Emergency Medical Service

    provider s action of denying her life flight, it violated Madelyns s constitutional

    rights, including but not limited to those under the Fourth, Eighth and Fourteenth

    Amendments of the United States Constitution.

 231. The misconduct described in this claim denying her medical was objectively

    unreasonable and undertaken with willfulness and reckless indifference to the

    rights of Madelyn.

        Punitive Damages

 232. Plaintiffs request punitive damages against each individually-named

    defendant. Exemplary damages based on the conduct of refusing to discourage

    the summoning of emergency services for Madelyn Marina Quiroz and allowing

    Madelyn Marina Quiroz to humiliating injuries and damages without regard to

    her serious medical needs, while at the accident scene and under the care of the
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 58 of 64 PageID #: 104




    Emergency Medical Service providers and police, medical personnel, emergency

    medical technicians, that was outrageous, malicious, and morally culpable.

 233. Madelyn Marina Quiroz s injuries and damage resulted from the joint and

    several acts and omissions of Defendants for which Plaintiffs seek punitive and

    exemplary damages against each individual Defendant (as allowed by law) in an

    amount appropriate to punish each individual Defendant, and deter others from

    engaging in similar conduct;

 234. Award punitive damages against Defendants in an amount to be shown at

    trial;

 235. These egregious, actions that shock the conscience hereby entitle Plaintiffs to

    punitive/exemplary damages;

  Actual Damages


 236. Compensatory general damages against each Defendant, jointly and

    severally, in the amount proven at trial.

 237. As wrongful injuries and damages, Plaintiffs seeks actual damages, both

    general and special, for the loss of the use of her left arm and both legs,

    Madelyn Marina Quiroz, for the following specific elements of damages:

 238. Pecuniary loss resulting from the injuries and damages of Madelyn Marina

    Quiroz including, but not limited to, the care, maintenance, relationship, support,

    services, education, advice, counsel, and reasonable contributions of a pecuniary
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 59 of 64 PageID #: 105




    value, would have received from Madelyn Marina Quiroz, had she not been

    deprived as a Victim of Crime to receive benefits from Crime Victims

    Compensation within the first two years of the said collision.

 239. Termination of the Family Relationship: The positive benefits flowing from

    the love, support, companionship, and society that Madelyn Marina Quiroz

    And Marina Quiroz, would in reasonable probability, have received from

    Madelyn Marina Quiroz had she not been deprived as a Victim of Crime to

    receive benefits Crime Victims Compensation within the first two years of the

    incident.


        Pain and Suffering

 240. Physical pain and suffering sustained by Madelyn Marina Quiroz from the

    time of the collision until present;

 241. Reasonable and necessary medical expenses.

 242. Reasonable and necessary medical expenses for Madelyn Marina Quiroz

    from the time of the collision until the present.

 243. Attorney s Fees.

 244. Plaintiffs are entitled to recover attorney s fees and costs under 42 U.S. C. §

    1983, 1981 and 1988, including reasonable and necessary attorney’s fees

    incurred by or on behalf of Plaintiffs.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 60 of 64 PageID #: 106




       Mental Anguish

 245. Mental anguish was suffered by Madelyn Marina Quiroz during the

    collision. Mental anguish sustained by Madelyn Marina Quiroz from the time of

    the incident until present; Mental anguish suffered by Madelyn Marina Quiroz

    mother after almost two years of not being provided complete and thorough

    investigation.

 246. Mental Anguish suffered by her mother and family as a result of her injuries

    and damages of Madelyn Marina Quiroz, including, but not limited to, the

    emotional pain, torment, and suffering that Plaintiff would, in reasonable

    probability, experience from the injuries and damages of Madelyn Marina

    Quiroz.


        Physical Impairment and Disfigurement

 247. Physical Impairment was suffered by Madelyn Marina Quiroz while in the

    motor vehicle collision. Physical Impairment was suffered by Madelyn Marina

    Quiroz from the time of the incident until present.

        Compensatory Special Damages

 248. Including, but not limited to compensatory general damages against each

    Defendant, jointly and severally, in the amount proven at trial.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 61 of 64 PageID #: 107




        Medical expenses


 249. Plaintiffs seek reasonable and necessary medical expenses for Madelyn

    Marina Quiroz from the time of the motor vehicle collision until present; and

    future Reasonable and necessary medical expenses.


        Attorney s Fees


 250. Plaintiffs are entitled to recover attorney s fees and costs under 42 U.S. C.

    §1983 and 1988 including reasonable and necessary attorney s fees incurred by

    or on behalf of Plaintiffs Equitable Relief.

        Additional Damages

 251. Plaintiffs seek to recover all court costs, fees, expenses, and expert fees. Pre

    and post-judgment interest as permitted by law; and such other relief, including

    injunctive and/or declaratory relief, as the court may deem proper.


        Equitable relief

 252. Equitable relief, including, without limitation, that City of Dayton, Texas,

    Dayton Police be made to apologize and to promulgate, adopt, train, maintain

    and enforce appropriate policies to prevent future instances of the type of

    misconduct described herein; Such other relief, including injunctive and

    declaratory relief, as the court may deem proper.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 62 of 64 PageID #: 108



                                       PRAYER

  WHEREFORE, PREMISES CONSIDERED, Plaintiffs, Madelyn Quiroz

  respectfully pray that Defendants be summoned to appear and answer herein and

  that upon a final hearing of this cause, that judgment is entered for the Plaintiffs

  and against Defendants, both jointly and severally, for all damages requested

  herein, together with prejudgment and post-judgment interest at the maximum rate

  allowed by law, attorney s fees, costs of court, and such other and further relief to

  which Plaintiffs may be entitled at law or in equity. Punish each Defendant, and

  deter others from engaging in similar conduct;

  Plaintiffs assert that the injuries and damages of Madelyn Marina Quiroz was the

  result of government actors, individually and collectively caused the injuries and

  damages and harm suffered was the result of Defendants conduct motivated by

  evil motive or intent or done recklessly or with callous deliberate indifference to

  the federally protected rights of Madelyn Marina Quiroz, and hereby entitle

  Plaintiffs to punitive and exemplary damages.

  Equitable relief, including, without limitation, that Defendants be made to

  apologize and to promulgate, adopt, train, maintain and enforce appropriate

  policies to prevent future instances of the type of misconduct described herein;

  Such other relief, including injunctive and declaratory relief, as the court may

  deem proper.
Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 63 of 64 PageID #: 109




                                        PRAYER




        Plaintiff(s) pray that they have judgment against Defendant(s) jointly and

 severally, for actual damages shown and proved at trial, for prejudgment and

 post-judgment interest, for costs of court, and for all other relief, legal and

 equitable, to which he is entitled.


                                   Respectfully submitted,




                                       Madelyn Marina Quiroz

                                       10 Sherwood Street, Dayton, Tx 77535

                             maddiiquiroz@icloud.com FAX: 1-832-218-4322




                                       10 Sherwood Street, Dayton, Tx 77535

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Case 1:23-cv-00273-MAC-ZJH Document 4 Filed 10/12/23 Page 64 of 64 PageID #: 110




  Plaintiff(s) pray that they have judgment against Defendant(s) jointly and

  severally, for actual damages shown and proved at trial, for prejudgment and

  post-judgment interest, for costs of court, and for all other relief, legal and

  equitable, to which he is entitled.

                                    Respectfully submitted



                                    Marina Naomi Hernandez Quiroz, individually

                                    and as Attorney in Fact for Madelyn Quiroz

                                    10 Sherwood Street, Dayton, Tx 77535

                                    marinaquiroz@att.net

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